 Case 0:22-cv-61228-KMM Document 7 Entered on FLSD Docket 07/14/2022 Page 1 of 1


M swerTo Summ onsUnited StatesDistictCourtforthe Southern DistrictofFlorida
                                                                                 FILED BY                      Dc
M ICHAEL KELLEY,Plaintiff                                                                                      ' '
V.
ToprsxltEatas-rv EoExl-s.coM,LLc arld                                                  JUL 1j 2222
ROBERTWALSH De VoJgwjm                                                                  ANOEUAE    . xoauE
                                                                                        CLERK U s.Dlsm cm
                                                                                      s.n.oF F.t.k.-FT.LALID
CivilA cton No.0:22-cv-61228                                                                               .

1.ThePlaintift M ichaelKelley's,lawsuitv.TOPIENREALESTATEDEM S.COM ,LLC and
ROBERT W M SH iswithoutm erit.Ihe16 photographs ofthe Owlwood M mzsion in LosAngelesthatM r.
K elley hasfiled thislawstlitw ere sentto usin 2019 forotlruseby therealestate agency thathad the for-sale
listing forOwlw ood.
2.Contrary to M r.Kelly'sallegation,we did notlocate acopy ofthe Ow lw ood photoson theintem etand copy
the photos.Thephotosw ere em ailed to usby the Owlw ood listing realestate agency,Compass,to assistthem in
publicizing the hom e.

3.Com passsentusthe Owlwood photosirlorderforusto write an arricle aboutthehistory and sale of
Owlwood,postthearticleandphotostootlrwebsiteanddisM butethenrticleandphotostoothermedia,justas
w ehave operated forover10 years.0. celebrity hom e features,including Ow lw ood,wereproduced asa news
feature forwhich we neverasked for,accepted orearned any m oney.W edid potsolidtoracceptany paid
advertising on thewebsite.TOPTENREALESTATEDEALS.COM ,LLC wasoperated by my w ifeand 1.W e had
no em ployees;we had oneN orth Carolina-based independentconkactor,Genelle Brown,who wrote and
arranged m any ofthe celebrity hom efeam res.Shedied a few weeksago from a heal'tattack.

4.Owlw ood previously wasforsale in 2017 whichw aswhen w efizstpublished an Ow lw ood featurewith photo
permission provided by the then-listi
                                    ng agent,RobertShapiro atM ercer& V neAgency in LosAngeles.

5.Thephotograph ofCity Centrein M iam i,FloridathatM r.Kelley hasfiled sttitwassentto usby theM iam i
realestateagency thatwasselling the residences,in orderto help them publicizetheresidences.1am alicensed
Floridarealestate agent.In addition,thephoto waspublished on ourw ebsitebefore M r.Kelley registered his
City Cenke copyright.
6.NeitherRobel'tW alsh norTOPTENREM ESTATEDEALS.COM ,LLC received any m oney orremuneradon
ofany kind in any w ay connected to theOwlwood orCity Cenkephotos.
7.M idzaelKelley suffered no dam agesbutdid,in fact,receive extensivefreepublicity ashew asshow n asthe
photographeron otlrOwlw ood feam res.

RobertW alsh
801 Briny Avenue
Aparrm ent804
Pom pano Beach,FL 33062

TOPTENREM ESTAT        M S. M ,LLC
clo RobertW alsh
801 BrinyAvenue
Aparpment804
Pompano Beach,FL 33062
